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                             UNITED STATES BANKRUPTCY COURT
                              NORTHERN DISTRICT OF GEORGIA
                                     ATLANTA DIVISION


IN RE:                                            :          CASE NO. 21-52225-BEM
                                                  :
MASOUD RAZZAGHI,                                  :          CHAPTER 7
                                                  :
         Debtor.                                  :
                                                  :


   MOTION FOR ORDER AUTHORIZING SETTLEMENT WITH DEBTOR UNDER
                RULE 9019 OF THE FEDERAL RULES OF
                     BANKRUPTCY PROCEDURE

         COMES NOW S. Gregory Hays, Chapter 7 Trustee (“Trustee”) for the bankruptcy estate

(the “Bankruptcy Estate”) of Masoud Razzaghi (“Debtor”), by and through the undersigned

counsel, and files his Motion for Order Authorizing Settlement with Debtor under Rule 9019 of

the Federal Rules of Bankruptcy Procedure (the “Settlement Motion”). In support of the

Settlement Motion, Trustee respectfully shows the Court as follows:

                                       Jurisdiction and Venue

         1.        This Court has jurisdiction over this Settlement Motion under 28 U.S.C. §§ 157

and 1334. Venue of this case in this District is proper under 28 U.S.C. §§ 1408 and 1409. The

statutory predicate for the relief sought herein is Rule 9019 of the Federal Rules of Bankruptcy

Procedure. This Settlement Motion is a core proceeding under 28 U.S.C. § 157(b)(2).

                                            Background

                                 a. General Background and Dispute

         2.        On March 18, 2021 (the “Petition Date”), Debtor filed a voluntary petition for

relief under Chapter 7 of Title 11 of the United States Code, 11 U.S.C. §§ 101 et seq. (as

amended, modified, or supplemented, “Bankruptcy Code”) in the United States Bankruptcy



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Court for the Northern District of Georgia, Atlanta Division (“Bankruptcy Court”), initiating

Chapter 7 Case No. 21-52225-BEM (the “Bankruptcy Case”).

        3.     Trustee was thereafter appointed the duly acting Chapter 7 trustee in the

Bankruptcy Case, and he remains in this role.

        4.     On the Petition Date, Debtor was the sole owner1 of record of a certain real

property with a common address of 700 Kimball Parc Way, Alpharetta, Georgia 30022 (the

“Property”).

        5.     Debtor’s interest in the Property (the “Interest”) is property of the Bankruptcy

Estate. See 11 U.S.C. § 541 (2021).

        6.     Rather than Trustee’s selling the Interest of the Bankruptcy Estate in the Property,

Debtor would like to purchase the Interest from the Bankruptcy Estate (the “Transfer Dispute”).

                                         b. Filed Claims

        7.     The claims bar date in this case for governmental and non-governmental entities

was October 13, 2021. The total of the timely filed, non-priority, general unsecured claims is

$57,791.23.

                                         The Settlement

        8.     Following much negotiation, Trustee and Debtor (collectively, the “Parties”)

have reached an agreement to transfer the Interest to Debtor by Trustee’s abandoning it to Debtor

following certain payments by Debtor. In this regard, the Parties have entered into a Settlement

Agreement (the “Settlement Agreement”). Trustee attaches a copy of the Settlement Agreement




1
       Debtor’s bankruptcy schedules errantly indicate that he owns the Property with another.
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as Exhibit “A” to this Settlement Motion. Significant terms of the Settlement Agreement are as

follows:2

              a.     Debtor shall pay a total of $28,000.00 (the “$28,000.00 Settlement
                     Funds”) in good funds to Trustee in exchange for Trustee’s abandoning
                     the Interest to Debtor in accordance with the following schedule (the
                     “Scheduled Payments”): 23 equal installments each in the amount of
                     $1,166.67 on the first day of each month (the “$1,166.67 Payments”),
                     beginning on the first day of the month that occurs after the Settlement
                     Approval Order becomes final; and a final payment of $1,166.59 within
                     30 days after Debtor pays the last of the $1,166.67 Payments.

              b.     The Interest of the Bankruptcy Estate in and to the Property shall be
                     deemed abandoned upon the later of: (a) Trustee’s receipt in full of the
                     $28,000.00 Settlement Funds from Debtor in good funds; or (b) the
                     Settlement Approval Order3 becoming final.

              c.     Debtor shall insure the Property to protect the Bankruptcy Estate against
                     loss, whether casualty or personal liability, until the later of: (a) Trustee’s
                     receipt in full of the $28,000.00 Settlement Funds from Debtor; or (b) the
                     Settlement Approval Order becoming final.

              d.     Debtor shall pay all ad valorem real property taxes that accrue against or
                     as a result of the Property until the later of: (a) Trustee’s receipt in full of
                     the $28,000.00 Settlement Funds from Debtor; or (b) the Settlement
                     Approval Order becoming final.

              e.     Debtor shall pay all payments owed on any debt secured by an interest in
                     the Property (the “Mortgage Payments”) until the later of: (a) Trustee’s
                     receipt in full of the $28,000.00 Settlement Funds from Debtor; or (b) the
                     Settlement Approval Order becoming final.

              f.     Debtor shall not grant or permit any future encumbrances against the
                     Property, or sell or transfer the Property, without Trustee’s express written
                     permission and appropriate authority from the Bankruptcy Court until the
                     later of: (a) Trustee’s receipt in full of the $28,000.00 Settlement Funds
                     from Debtor; or (b) the Settlement Approval Order becoming final.



2
       The following is a summary of the Settlement Agreement and is not intended to be
comprehensive. To the extent that anything in this summary is contrary to the terms of the
Settlement Agreement, the Settlement Agreement controls.
3
       Capitalized terms used herein but not otherwise defined shall have the meanings ascribed
to them in the Settlement Agreement.

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              g.     Debtor shall pay all maintenance and repair expenses that arise from or
                     that are related to the Property until the later of: (a) Trustee’s receipt in
                     full of the $28,000.00 Settlement Funds from Debtor; or (b) the Settlement
                     Approval Order becoming final.

              h.     Within five (5) business days after receiving a written request from
                     Trustee, in accordance with Section 11 of the Settlement Agreement,
                     Debtor shall produce to Trustee proof of insurance on the Property or
                     proof of payment of his Mortgage Payments. In this regard, Debtor
                     represents and warrants to Trustee, that, as of the Effective Date of the
                     Settlement Agreement, the Property is insured and he is current on his
                     Mortgage Payments.

              i.     The Parties stipulate and agree that Debtor shall not have a claim under
                     Section 502(h) of the Bankruptcy Code in the Bankruptcy Case for or on
                     account of payment of the $28,000.00 Settlement Funds, or for any reason,
                     and that neither Debtor nor any of his affiliates, agents, principals, or
                     subsidiaries shall receive a distribution from the Bankruptcy Estate.

              j.     Effective upon the Settlement Approval Order becoming final, Debtor
                     shall waive any and all obligations that the Bankruptcy Estate may
                     otherwise have to pay to Debtor out of the $28,000.00 Settlement Funds
                     on account of exemptions asserted by or on behalf of Debtor, if any, in the
                     Property, the Interest, or the $28,000.00 Settlement Funds.

              k.     There are also events of default and liquidated damage provisions should
                     Debtor fail to pay timely any of the Scheduled Payments.

                                      Relief Requested

        9.    By this Settlement Motion, Trustee requests that the Court approve the Settlement

Agreement between the Parties.

                                       Basis for Relief

        10.   Federal Rule of Bankruptcy Procedure 9019(a) provides, in pertinent part, that

“[o]n motion by Trustee and after notice of a hearing, the court may approve a compromise or

settlement.” Fed. R. Bankr. P. 9019(a). The standard in this Circuit for determining whether to

approve a compromise or settlement pursuant to Rule 9019(a) is set forth in Wallis v. Justice




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Oaks II, Ltd. (In re Justice Oaks II, Ltd.), 898 F.2d 1544 (11th Cir. 1990), cert. denied, 498 U.S.

959 (1990), in which the Eleventh Circuit stated as follows:

        When a bankruptcy court decides whether to approve or disapprove a proposed
        settlement, it must consider:

        (a) The probability of success in the litigation; (b) the difficulties, if any, to be
        encountered in the matter of collection; (c) the complexity of the litigation
        involved, and the expense, inconvenience and delay necessarily attending it; (d)
        the paramount interest of the creditors and a proper deference to their reasonable
        views in the premises.

Id. at 1549. In making its evaluation, a court must not rest its approval of the settlement on a

resolution of the ultimate factual and legal issues underlying the compromised disputes. In re

Teltronics Servs., Inc., 762 F.2d 185, 189 (2d Cir. 1985). Rather, the court should consider the

probable outcome of the litigation, including its advantages and disadvantages, and make a

pragmatic decision based on all equitable factors. Florida Trailer and Equip. Co. v. Deal, 284

F.2d 567, 571 (5th Cir. 1960).

        11.    The proposed settlement between the Parties is the product of arms’ length

negotiations and reflects the Parties’ analysis and consideration of the relevant legal, factual, and

economic issues.

        12.    The proposed settlement will allow Trustee to make a meaningful distribution to

the holders of timely filed general unsecured claims in this Bankruptcy Case and avoid the costs

and risks of marketing and selling the Property through a licensed real estate broker (and also

allow Debtor to keep his primary residence).

        13.    Under the standard set forth above and for the reasons previously detailed in this

Settlement Motion, Trustee urges that this Court approve the Settlement Agreement.

        WHEREFORE, Trustee respectfully requests that the Court enter an Order (i) granting

this Settlement Motion; (ii) authorizing Trustee to take actions reasonably necessary to effectuate


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the terms of the Settlement Agreement; and (iii) granting to the parties such other and further

relief as the Court deems just and appropriate.

        Respectfully submitted, this 4th day of January, 2022.

                                                      ARNALL GOLDEN GREGORY LLP
                                                      Attorneys for Trustee

                                                      By: /s/ Michael J. Bargar
171 17th Street, NW, Suite 2100                            Michael J. Bargar
Atlanta, GA 30363                                          Georgia Bar No. 645709
(404) 873-8500                                             michael.bargar@agg.com




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                             EXHIBIT “A” FOLLOWS




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                                CERTIFICATE OF SERVICE

       This is to certify that I, Michael J. Bargar, am over the age of 18 and that I have this day
served a true and correct copy of the foregoing Motion for Order Authorizing Settlement with
Debtor under Rule 9019 of the Federal Rules of Bankruptcy Procedure by first class United
States mail on the following entities at the addresses stated:

Office of the United States Trustee
362 Richard B. Russell Building
75 Ted Turner Drive, SW
Atlanta, GA 30303

S. Gregory Hays
Hays Financial Consulting, LLC
2964 Peachtree Rd, NW, Suite 555
Atlanta, GA 30305

Danny Coleman
Coleman Legal Group, LLC
Suite 51
5755 North Point Parkway
Alpharetta, GA 30022

Masoud Razzaghi
P.O. Box 5021
Alpharetta, GA 30023



        This 4th day of January, 2022.


                                                            /s/ Michael J. Bargar
                                                            Michael J. Bargar
                                                            Georgia Bar No. 645709
                                                            michael.bargar@agg.com




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